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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

1. ELIJAH HENRY,                 )
                                 )                      Case No. 5:19-cv-01018-SLP
           Plaintiff,            )
                                 )
v.                               )
                                 )
1. RADIUS GLOBAL SOLUTIONS, LLC; )
and 2. DOES 1-10, inclusive,     )
                                 )
           Defendant,            )
                                 )

              DEFENDANT RADIUS GLOBAL SOLUTIONS, LLC’S
              MOTION FOR EXTENSION OF TIME TO ANSWER

       Defendant Radius Global Solutions, LLC (“Radius”) submits this Motion for

Extension of Time to Answer or otherwise plead, and states the following in support thereof

in fulfillment of LCvr 7.2(h):

   1. The initial pleading of Radius is currently due on January 10th, 2020 pursuant to

       Radius’s Waiver of the Service of Summons. Doc. 4, filed 11/20/19.

   2. No prior motions for extension have been made.

   3. Radius is still in the process of gathering information in order to prepare an Answer

       and/or other initial pleadings or motions.

   4. Opposing counsel has been contacted and has no objection to a two (2) week

       extension of time for Radius to answer.

   5. The granting of this Motion for Extension of Time to Answer will not impact any

       deadlines, as this matter has not been set for trial or otherwise scheduled for any

       deadlines.
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   6. Radius requests a two week extension of time to answer, which will reset the

        deadline for Radius to answer from January 10, 2020 to January 24, 2020.

A proposed order is being submitted contemporaneously with this motion.

        WHEREFORE, Defendant Radius Global Solutions, LLC respectfully requests that

this Court grant its Motion for Extension of Time to Answer or otherwise plead, and

accordingly reset the deadline for Radius to answer from January 10, 2020 to January 24,

2020.


                                         Respectfully submitted,

                                  By:    /s/ Kerry R. Lewis
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                                         Radius Global Solutions, LLC




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                             CERTIFICATE OF SERVICE


       I certify that on the 9th day of January, 2020, a copy of the foregoing was
electronically filed with the Clerk of the Court, United States District Court for the
Western District of Oklahoma, and submitted electronically to the following ECF
registrant(s):

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                                                  /s/ Kerry R. Lewis
                                                  Kerry R. Lewis (OBA #16519)




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